

People v Henderson (2021 NY Slip Op 05253)





People v Henderson


2021 NY Slip Op 05253


Decided on October 1, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 1, 2021

PRESENT: PERADOTTO, J.P., CARNI, LINDLEY, NEMOYER, AND CURRAN, JJ. (Filed Oct. 1, 2021.) 


MOTION NO. (1150/10) KA 07-00132.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vMICHAEL J. HENDERSON, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for renewal is dismissed as untimely.








